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                 ACCOUNTANTS PROFESSIONAL LIABILITY POLICY

YOUR ACCOUNTANTS PROFESSIONAL LIABILITY INSURANCE IS WRITTEN ON A
“CLAIMS-MADE” BASIS. IT PROVIDES COVERAGE FOR THOSE CLAIMS WHICH
ARE BOTH FIRST MADE AGAINST YOU AND REPORTED TO US IN WRITING
DURING THE POLICY PERIOD.

Throughout this Policy, the terms "we", "us" and "our" refer to the Stock Insurance
Company, named on the Declarations, providing this insurance.

I.      DEFINITIONS

        The following terms shown in bold face type in this Policy will have only the
        meaning indicated below:

        Advertising injury means injury that arises in the course of advertising your
        professional services by reason of:
        A.    the oral or written publication of material that slanders or libels an
              individual or entity or disparages its goods, products or services;
        B.    misappropriation of advertising ideas or style of doing business; or
        C.    infringement of copyright, title or slogan.

        Bankruptcy trustee means the individual appointed by the U.S. Trustee or
        elected by creditors or appointed by a judge to administer the bankruptcy estate
        during a bankruptcy case.

        Benefit plan fiduciary means any of you while exercising discretionary authority
        or discretionary control:
        A.      respecting management of an employee benefit plan;
        B.      respecting disposition of the assets of an employee benefit plan, including
                but not limited to purchasing or selling investments on behalf of such a
                plan; or
        C.      in the administration of an employee benefit plan.

        Bodily injury means injury to the body, including sickness or disease sustained
        by any person and death resulting from such injuries; emotional distress or
        mental anguish sustained by any person whether or not resulting from such
        injury; and all injuries that are a consequence of the foregoing. However, bodily
        injury does not include emotional distress or mental anguish arising from
        personal injury.

        Claim means a demand received by you for money or services naming you and
        alleging an act or omission, including personal injury or advertising injury, in
        the rendering of professional services. A demand shall include the service of
        suit or the institution of arbitration proceedings against you.

        Claim also means:
        A.    privacy claims; and
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        B.      client network damage claims.

        Claim expenses are those fees charged by an attorney we designate or consent
        to, and all other fees, costs and expenses resulting from the investigation,
        adjustment, expert analysis, defense and appeal of a claim, if incurred by us or
        by you with our written consent. Claim expenses do not include salaries of our
        employees or officers, or fees and expenses of independent adjusters retained
        by us.

        Client network damage claim means a demand received by you for money or
        services naming you and alleging that a security breach or electronic
        infection caused network damage to a client’s network in the rendering of
        professional services. A demand shall include the service of suit or the
        institution of arbitration proceedings against you.

        Computer virus means unauthorized computer code that is designed and
        intended to transmit, infect and propagate itself over one or more networks, and
        cause:
        A.     computer code or programs to perform in an unintended manner;
        B.     the deletion or corruption of electronic data or software; or
        C.     the disruption or suspension of a network.

        Confidential commercial information means information that has been
        provided to you by another, or created by you for another, where such
        information is subject to the terms of a confidentiality agreement or equivalent
        obligating you to protect such information on behalf of another.

        Court-appointed receiver means a disinterested person appointed by a court
        for the protection or collection of property that is the subject of diverse claims
        because such property belongs to a bankrupt entity or is otherwise being
        litigated.

       Crisis event means:
       A.      the death, departure or debilitating illness of a Principal Insured;
       B.      the dissolution of the Named Insured;
       C.      an incident of workplace violence; or
       D.      the arrest of, or initiation of a criminal investigation or criminal proceeding
               against, a Principal Insured in connection with the rendering of
               professional services;
       that the Named Insured reasonably believes will have a material adverse effect
       upon the Named Insured’s reputation.

        Crisis event expenses means reasonable fees, costs and expenses incurred by
        the Named Insured for consulting services provided by a public relations firm to
        the Named Insured in response to a crisis event.

        Damages are monetary judgments, awards and settlements, you are legally
        obligated to pay because of a claim, provided any settlement is negotiated by
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        or with our assistance and approval. Damages also include prejudgment or post-
        judgment interest awarded against you on such judgments or awards.

        Damages do not include:
        A.   civil or criminal fines, penalties, sanctions or forfeitures, imposed on you
             whether pursuant to law, statute, regulation or court rule;
        B.   punitive or exemplary amounts, and the multiplied portion of multiplied
             awards on claims otherwise payable under this Policy;
        C.   amounts for which you are not financially liable or that are without legal
             recourse to you;
        D.   amounts owed by you to your client by reason of money loaned to or
             invested with you in your individual capacity for your personal use or
             investment in your own venture;
        E.   injunctive or declaratory relief.

        Denial of service attack means an attack executed over one or more networks
        or the internet that is specifically designed and intended to disrupt the operation
        of a network and render a network inaccessible to authorized users.

        Dissolution means:
        A.    the termination of the legal existence of an organization, regardless of
              structure, whether by legislation, surrender, expiration or forfeiture of
              charter for any cause, bankruptcy; or
        B.    loss of all of an entity’s partners, principals, officers or directors; or
        C.    the cessation of the rendering of professional services.

        Electronic infection means the transmission of a computer virus to a network,
        including without limitation, such transmission to or from your network.

        Electronic information damage means the unauthorized access to,
        destruction of, addition to, deletion of or alteration to any:
        A.     third-party's information residing on your network; or
        B.     information residing on the network of your client, if caused by you in
               the rendering of professional services.

        Internet means the worldwide public network of computers as it currently exists
        or may be manifested in the future, but internet does not include your network.

        Interrelated acts or omissions mean all acts or omissions in the rendering of
        professional services that are logically or causally connected by any common
        fact, circumstance, situation, transaction, event, advice or decision.

        Interrelated claims are all claims arising out of a single act or omission or
        arising out of interrelated acts or omissions in the rendering of professional
        services.

        Investment advisory services means:

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        A.     giving financial, economic or investment advice, including personal
               financial planning; or
        B.     performing investment management services with respect to investments
               in securities or insurance products or investments in real estate;
        whether the advice or services referred to in paragraphs A. or B. of this definition
        are given or performed as a registered or unregistered investment advisor.

        However, the services referred to in paragraph B. of this definition do not include
        the barter, purchase or sale of securities or insurance products.

        Named Insured means the individual or entity named on the Declarations as the
        Named Insured.

        Network means a party’s local or wide area network owned or operated by or on
        behalf of or for the benefit of that party; provided, however, network shall not
        include the internet, telephone company networks, or other public infrastructure
        network.

        Network damage means:
        A.    the unscheduled or unplanned inability of an authorized user to gain
              access to a network;
        B.    electronic information damage; or
        C.    the suspension or interruption of the operation of any network.

        Non-public personal information means personal information not available to
        the general public from which an individual may be identified, including without
        limitation, an individual's name, address, telephone number, social security
        number, account relationships, account numbers, account balances, and account
        histories.

        Outside organization means:
        A.    a not-for-profit corporation, fund, foundation or organization that is exempt
              from federal income tax as an organization described in Section
              501(c)(3), 501(c)(4), 501(c)(6) or 501(c)(7) of the Internal Revenue Code
              of 1986, as amended; and
        B.    that has been reported on the Named Insured’s most recent application
              or renewal application with us.

        Outside organization director means an individual who was, is or shall be duly
        elected to a position, however named, in the governing body of an outside
        organization.

        Outside organization matter means a written or oral demand for money
        received by you, naming you and alleging an error, misstatement, misleading
        statement, act, omission, neglect or breach of duty by you in your capacity as an
        outside organization director or outside organization officer. A demand shall
        include the service of suit or the institution or notice of any administrative,
        investigative, arbitration or other proceeding against you.
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        Outside organization officer means an individual who was, is or shall be duly
        elected or appointed as an officer of an outside organization.

        Personal fiduciary is an executor, administrator or representative of an estate or
        a trustee of a personal trust.

        Personal injury means libel, slander, disparagement, false arrest, wrongful
        detention, false imprisonment, wrongful entry or eviction or other invasion of the
        right of private occupancy, malicious prosecution or violation of an individual’s or
        entity’s right of privacy. Personal injury also includes emotional distress and
        mental anguish arising from any of the above.

        Personal trust means an individual or family trust established for the sole benefit
        of the individual or family or a charitable remainder trust as defined under Internal
        Revenue Code Section 664.

        Policy period means the period of time from the effective date and time shown
        in the Declarations and the date and time of termination, expiration or
        cancellation of this Policy.

        Predecessor firm means:
        A.    a partnership, professional corporation, professional association, limited
              liability corporation or limited liability partnership engaged in professional
              services which has undergone dissolution and from which 50% or more
              of the owners, partners, or officers have joined the Named Insured as an
              owner, partner, officer, associate or employee;
        B.    a sole proprietor engaged in professional services which has joined the
              Named Insured as an owner, partner, officer, associate or employee
              unless otherwise excluded by endorsement; or
        C.    any individual or entity identified as a predecessor firm by endorsement
              to this Policy.

        Principal Insured means an Insured member of the board of managers,
        director, executive officer, natural person partner, owner of a sole proprietorship,
        principal, risk manager or in-house general counsel of the Named Insured.

        Prior acts date, if any, is indicated on the Declarations. This Policy excludes
        from coverage all claims by reason of acts or omissions that happened before
        the prior acts date.

        Prior insurer means an insurer, including us and any subsidiary or affiliate of
        ours, who has issued prior accountants professional liability insurance coverage.

        Privacy breach notice law means any statute or regulation that requires an
        entity who is the custodian of non-public personal information to provide
        notice to individuals of any actual or potential privacy breach with respect to such
        non-public personal information. Privacy breach notice laws include
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        Sections 1798.29 and 1798.82- 1798.84 of the California Civil Code (formerly
        S.B. 1386) and other similar laws in any jurisdiction.

        Privacy claim means a demand received by you for money or services naming
        you and alleging privacy injury and identity theft that occurred in the rendering
        of professional services. A demand shall include the service of suit or the
        institution of arbitration proceedings against you.

        Privacy injury and identity theft means:
        A.    any unauthorized disclosure of, inability to access, or inaccuracy with
              respect to, non-public personal information in violation of:
              1.      your privacy policy; or
              2.      any federal, state, foreign or other law, statute or regulation
                      governing the confidentiality, integrity or accessibility of non-
                      public personal information, including but not limited, to the
                      Health Insurance Portability and Accountability Act of 1996,
                      Gramm-Leach-Bliley Act, Children's Online Privacy Protection Act,
                      or the EU Data Protection Act.
        B.    your failure to prevent unauthorized access to confidential
              commercial information.

        Privacy policy means your policies in written or electronic form that:
        A.    govern the collection, dissemination, confidentiality, integrity, accuracy or
              availability of non-public personal information; and
        B.    you provide to your customers, employees or others who provide you
              with non-public personal information.

        Professional services mean those services performed:
        A.    in the practice of public accountancy by you for others for remuneration
              that inures to the benefit of the Named Insured, including but not limited
              to consulting services and investment advisory services;
        B.    by you for others for remuneration that inures to the benefit of the Named
              Insured as:
              1.      a bankruptcy trustee, court-appointed receiver, or personal
                      fiduciary; or
              2.      an arbitrator, mediator or notary public;
        C.    by you for others as a member of a formal accreditation, standards
              review or similar professional board or committee related only to the
              accounting profession; or
        D.    by you for others as a benefit plan fiduciary.

        Professional services also mean those services identified in paragraphs A. and
        B. above when rendered on a pro bono basis by those of you specified in
        paragraphs A. and B. of the definition of You and your, if at the time such
        services were undertaken, a partner, officer or director of the Named Insured
        approved the rendering of such services without compensation to any of you.

        Regulatory proceeding means an administrative, disciplinary, investigative
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        or regulatory proceeding initiated against you by a state licensing board, self-
        regulatory body, public oversight board, governmental agency or any entity
        acting on their behalf that has the authority to regulate your professional
        services.

        A regulatory proceeding shall be deemed initiated:
        A.     on the date of service upon or other receipt by you of a complaint against
               you in such proceeding; or
        B.     upon your being identified in writing and by name in an order of
               investigation, subpoena, Wells Notice, target letter (within the meaning of
               Title 9, §11.151 of the United States Attorney’s Manual), or other similar
               document as someone against whom a regulatory proceeding may be
               brought.

        Security breach means the failure of your network hardware, software or
        firmware, the function or purpose of which is to:
        A.     identify and authenticate parties prior to accessing your network;
        B.     control access to your network and monitor and audit such access;
        C.     protect against computer viruses;
        D.     defend against denial of service attacks upon you or unauthorized use
               of your network to perpetrate a denial of service attack;
        E.     ensure confidentiality, integrity and authenticity of information on your
               network.

        Unauthorized access means any accessing of information in your care, custody
        or control by unauthorized persons or by authorized persons accessing or using
        such information in an unauthorized manner. Unauthorized access also
        includes:
        A.     theft from you of any information storage device used by you to:
               1.       store and retrieve information on your network; or
               2.       transport information between you and authorized recipients;
        B.     any unauthorized use by you of information in your clients’ care, custody
               or control if accessed by you in the course of rendering professional
               services.

        You and your means the Named Insured and any predecessor firm and:
        A.    any person who is or becomes a partner, officer, director, associate, or
              employee of the Named Insured but only for professional services
              performed on behalf of the Named Insured;
        B.    any person previously affiliated with the Named Insured or a
              predecessor firm as a partner, officer, director, associate, or employee
              but only for professional services performed on behalf of the Named
              Insured or a predecessor firm at the time of such affiliation;
        C.    any person or entity that is an independent contractor to the Named
              Insured provided that such person or entity is not:
              1. employed by the Named Insured or predecessor firm or by any
                  entity controlled, owned, managed or operated by the Named

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                    Insured or predecessor firm; or
                2. controlled, owned, managed or operated by the Named Insured or
                    predecessor firm or by any entity that is controlled, owned, managed
                    or operated by the Named Insured or predecessor firm;
                but only for professional services performed on behalf of the Named
                Insured and only to the extent that remuneration for such services inures
                to the benefit of the Named Insured.

II.      COVERAGE AGREEMENTS

         A.     In accordance with all the terms and conditions of this Policy, we will pay
                on your behalf all sums in excess of the deductible, up to our limits of
                liability, that you become legally obligated to pay as damages and claim
                expenses because of a claim that is both first made against you and
                reported in writing to us during the policy period by reason of an act or
                omission in the performance of professional services by you or by any
                person for whom you are legally liable provided that:
                1.        you did not give notice to a prior insurer of any such act or
                          omission or interrelated act or omission;
                2.        prior to the effective date of this Policy, none of you had a basis to
                          believe that any such act or omission, or interrelated act or
                          omission, might reasonably be expected to be the basis of a
                          claim;
                3.        such act or omission happened subsequent to the prior acts
                          date;
                4.        you did not give notice to a prior insurer of an interrelated
                          claim.

         B.     We have the right and duty to defend any claim seeking damages, even
                if any of the allegations of the claim are groundless, false or fraudulent.
                We will investigate any such claim as we deem appropriate. We will not
                settle any claim without your written consent, which shall not be
                unreasonably withheld. You and we agree to consult with each other,
                and, if you are a member, with the American Institute of Certified Public
                Accountants, to resolve any differences relating to such settlement.

         C.     We are not obligated to investigate, defend, pay or settle a claim after the
                applicable limit of our liability has been exhausted by payment of
                damages or claim expenses or by any combination thereof, or after we
                have tendered the remaining available limits of liability into a court of
                competent jurisdiction. In such case, we shall have the right to withdraw
                from the further investigation, defense or settlement of any claim by
                tendering control of said investigation, defense or settlement to you. We
                will initiate, and cooperate in, the transfer of control to you of any claims
                that were reported to us prior to the exhaustion of such limit. You must
                cooperate in the transfer of control of such claims. We agree to take the
                necessary steps, as we deem appropriate, to avoid a default in such

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                claims until such transfer has been completed, provided you cooperate
                in completing such transfer. You must reimburse us for expenses we
                incur in taking those steps we deem appropriate to avoid a default.

          D.    If we conclude that the limit of liability applicable to any claim may
                become exhausted prior to the conclusion of the claim, we will notify the
                Named Insured, in writing, as soon as practicable, to that effect. When
                the limit of liability applicable to any claim has actually been exhausted
                prior to the conclusion of the claim, we will notify the Named Insured, in
                writing, as soon as practicable, that such limit has been exhausted.

III.      LIMITS OF LIABILITY

          A.    Each Claim

                Subject to B. below, the limit of liability for damages and claim expenses
                for each claim shall not exceed the amount stated in the Declarations as
                “Per claim.”

          B.    Aggregate

                Subject to A. above, the limit of our liability for damages, and claim
                expenses for all claims shall not exceed the amount stated in the
                Declarations as "Aggregate."

          C.    Deductible

                Our obligation to pay damages and claim expenses as a result of a
                claim is in excess of the applicable amount of the deductible. The Named
                Insured agrees to pay all damages and claim expenses up to the
                amount of such deductible. The deductible amount applies either on a per
                claim or on an aggregate basis as is indicated on the Declarations.
                Payment of the deductible or portions thereof shall be made by the
                Named Insured as claim expenses are incurred or damages are paid.

          D.    Multiple insureds, claims and claimants

                The limits of liability shown in the Declarations and subject to the
                provisions of this Policy is the amount we will pay as damages and claim
                expenses regardless of the number of you, claims made or persons or
                entities making claims. If interrelated claims are subsequently made
                against you and reported to us, all such interrelated claims, whenever
                made, shall be considered a single claim first made and reported to us
                within the policy period in which the earliest of the interrelated claims
                was first made and reported to us.

          E.    Risk Management Incentives

                1.      Mediation
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                        With respect to a claim, your deductible applying to the claim will
                        be reduced by 50%, provided that:

                        a.     the claim is mediated by an independent, disinterested
                               third party mediator who is compensated for such services
                               and who is appointed by us or approved by us in writing;
                        b.     the claim is mediated either without institution of
                               arbitration proceedings or service of suit or within 60 days
                               of the institution of such proceedings or service of suit; and
                        c.     such claim is ultimately resolved for an amount acceptable
                               to you and us.

                        In no event shall the amount of the deductible waived hereunder
                        exceed $50,000.

                2.      Use of Engagement Letters

                        If you utilized an engagement letter in any engagement other than
                        audit services or attest services:

                        a.     that was signed within the preceding 11 month period prior
                               to rendering the professional services at issue in the
                               claim; and
                        b.     the claim is otherwise covered under the Policy;

                        then we will reduce your deductible, applying to that claim, by
                        50%, up to a total amount of $5,000.

                In the event that paragraphs E.1. and E.2. both apply to a claim, in no
                event shall the total amount of the deductible waived for that claim
                exceed $50,000.

IV.      SUPPLEMENTARY BENEFITS

         While not damages, we will make the following payments in addition to our limits
         of liability. No Deductible applies to any payments made under this
         Supplementary Benefits Section.

         1.     Defendants Reimbursement

                We agree to pay you $100 per hour for the time you spend to attend a
                trial, court hearing, mediation or arbitration proceeding at our request in
                connection with a claim.

         2.     Regulatory Proceeding
                We agree to pay your attorney fees and other reasonable costs, fees and

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                expenses incurred in responding to a regulatory proceeding initiated
                during the policy period and reported to us in accordance with Section
                VI.C. of this Policy, provided that such regulatory proceeding is initiated
                in connection with:

                a.      an act or omission in the rendering of professional services; or
                b.      an actual or alleged violation of a privacy breach notice law or
                        any law referenced under the definition of privacy injury and
                        identity theft, but only if such actual or alleged violation concerns
                        confidential commercial information or non-public personal
                        information that was gathered in the course of rendering
                        professional services;
                that occurred after the prior acts date indicated on the Declarations.
                The maximum amount we will pay for such attorney fees and other
                reasonable costs, fees and expenses is $25,000 regardless of the
                number of regulatory proceedings or the number of you who are
                subject to such regulatory proceedings.
        3.      Subpoena Assistance
                If during the policy period, you receive a subpoena for documents or
                testimony as a fact witness arising from an act or omission in the
                rendering of professional services which occurred after the prior acts
                date, and you would like our assistance in responding to the subpoena,
                you may provide us with a copy of the subpoena and we will retain an
                attorney to provide advice regarding the production of documents, to
                prepare you for sworn testimony, and to represent you at your
                deposition, provided that:
                a.      the subpoena arises out of a lawsuit to which you are not a party;
                        and
                b.      you have not been engaged to provide advice or testimony in
                        connection with the lawsuit, nor have you provided such advice or
                        testimony in the past.

                Any notice you give us of such subpoena shall be deemed notification of
                a potential claim under Section VI.D. of this Policy.


        4.      Defense of Third Party Discrimination Demand

                If, during the policy period, a demand is received by you for money or
                services and

                a.      arises solely from your alleged refusal after the prior acts date to
                        provide professional services due to discrimination, for reasons
                        of age, race, creed, color, gender, religion national origin,

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                        disability, marital status or sexual preference; and

                b.      does not arise out of your intentional disregard or willful failure to
                        comply with federal or state laws governing discriminatory
                        practices; and

                c.      the demand is otherwise covered under the terms and conditions
                        of the Policy but for the absence of the rendering of professional
                        services;

                then we will provide you with a defense subject to your deductible and
                the available limits of liability in the Policy. There will be no coverage for
                damages regardless of the ultimate findings.
        5.      Outside Organization Matter

                We agree to pay your attorney fees and other reasonable costs, fees and
                expenses incurred in responding to an outside organization matter
                initiated during the policy period and reported to us in accordance with
                Section VI.C. of this Policy, provided that:

                a.      you did not give notice of the acts, errors or omissions, or related
                        acts, errors or omissions, that form the basis of such outside
                        organization matter to a prior insurer (including us or any
                        subsidiary or affiliate of ours) that issued prior outside
                        organizations directors and officers coverage;

                b.      prior to the inception date of this Policy, you had no basis to
                        believe that such acts, errors or omissions, or related acts, errors
                        or omissions, might reasonably be expected to be the basis of an
                        outside organization matter;

                c.      such acts, errors or omissions occurred after the prior acts date
                        indicated on the Declarations;

                d.      your service as an outside organization director or outside
                        organization officer for such outside organization was
                        performed with the knowledge and explicit approval of the Named
                        Insured; and

                e.      any indemnification available to you for attorney fees and other
                        costs, fees and expenses from the outside organization or its
                        insurers has been exhausted.

                The maximum amount we will pay for such attorney fees and other
                reasonable costs, fees and expenses is $15,000 per outside
                organization matter, regardless of the number of you who are subject to
                such outside organization matter, up to a maximum of $30,000 per
                policy period for all outside organization matters.
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        6.      Crisis Event Expenses

                We agree to pay up to a maximum of $20,000 per policy period for
                crisis event expenses that result from all crisis events first occurring
                and reported in writing to us during the policy period.

V.      EXCLUSIONS

        This Policy does not apply to:

        A.      any claim for bodily injury regardless of cause;

        B.      any claim for damage to, destruction of, or loss of use of tangible
                property.

                This exclusion does not apply to client records which are in your care,
                custody or control;

        C.      any claim based on or arising out of liability assumed under any contract
                or agreement unless you would have been liable if the contract or
                agreement did not exist;

        D.      any claim based on or arising out of a dishonest, illegal, fraudulent,
                criminal or malicious act by any of you. We shall provide you with a
                defense of such claim unless or until the dishonest, illegal, fraudulent,
                criminal or malicious act has been determined by any trial verdict, court
                ruling, regulatory ruling or legal admission, whether appealed or not.
                Such defense will not waive any of our rights under this Policy. Criminal
                proceedings are not covered under this Policy regardless of the
                allegations made against you. This exclusion shall not apply to the
                coverage provided to the Named Insured for crisis event expenses;

        E.      any claim based on or arising out of professional services performed
                for any entity, including an entity held in a personal trust, if at the time of
                the act or omission giving rise to the claim, you or your spouse were a
                director, officer or partner of, or had management responsibilities for,
                such entity, or the owner of more than a 15% equity interest in such
                entity;

        F.      any claim based on or arising out of professional services rendered by
                you as an executor, administrator or personal representative of an estate
                or as a trustee if you or your spouse are a beneficiary or distributee of
                said estate or trust;

        G.      any claim based on or arising out of your capacity as:
                1.     an officer, director, trustee, partner or other member of a
                       governing body of an entity, other than the Named Insured. This
                       exclusion   shall    not apply to the coverage provided to
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                        outside organization directors and outside organization
                        officers;
                2.      a guardian or conservator of an individual;
                3.      a conservator of an entity;
                4.      a trustee for an investment fund established for the benefit of any
                        entity or group of unrelated individuals. This exclusion shall not
                        apply to an accountant when acting as a trustee for a personal
                        trust; or
                5.      a plan administrator of an employee benefit plan, or the trustee of
                        any trust established to fund such plan, or any other fiduciary of
                        such plans, regardless of whether the claim is brought against
                        you under the Employee Retirement Income Security Act of 1974,
                        its amendments or any other similar state or local law. This
                        exclusion does not apply:

                        a.     with respect to coverage provided to you as a benefit plan
                               fiduciary; or

                        b.     if you are deemed to be a fiduciary solely by virtue of
                               professional services you render as an accountant to the
                               plan, including accounting, audit, attest, consulting, tax,
                               investment advisory services, or administrative services to
                               an employee benefit plan as an independent third party
                               consultant;

        H.      any claim based on or arising out of your capacity as a broker or dealer
                in securities, as those terms are defined in Sections 3(a)(4) and 3(a)(5),
                respectively, of the Securities Exchange Act of 1934;

        I.      any claim based on or arising out of any anti-trust law violation or any
                agreement or conspiracy to restrain trade unless the allegations arise
                solely from your performance of professional services as a member of
                a formal accreditation, standards review or similar professional board or
                committee, related only to accountancy, and such services are within the
                scope of that committee's or board's established guidelines;

        J.      any claim based on or arising out of the gaining of any personal profit or
                advantage to which you are not legally entitled in the rendering of
                professional services in your capacity as a personal fiduciary;

        K.      solely with respect to benefit plan fiduciaries, any claim based on or
                arising out of:
                1.      discrimination in the administration of an employee benefit plan or
                        acceptance of participation in such employee benefit plan;
                2.      the failure to collect contributions owed to an employee benefit
                        plan or other employee program or for the return or any
                        contributions to an employer if such amounts are or could be
                        chargeable to the employee benefit plan or other employee

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                        program;
                3.      benefits paid or payable to a participant or beneficiary of an
                        employee benefit plan or other employee programs if such
                        benefits are paid or may lawfully be paid from the funds of such
                        employee benefit plan or other employee program;
                4.      failure to comply with any law concerning worker’s compensation,
                        unemployment insurance, social security benefits or disability
                        benefits;
                5.      failure or omission to effect and maintain insurance or bonding for
                        employee benefit plan property or assets; or
                6.      the bankruptcy of or suspension of payment by any bank, banking
                        firm or other financial institution or by any broker/dealer in
                        securities or commodities.

VI.      POLICY CONDITIONS

         A.     Coverage Territory

                This Policy applies to acts or omissions committed by you anywhere in the
                world, regardless of where the claim is made or suit is brought. If covered
                damages are stated or incurred in a currency other than that of the United
                States of America, such payment will be made in the currency of the United
                States of America at the rate of exchange published in The Wall Street
                Journal on the date the Insurer’s obligations to pay such damages are
                established (or if not published on such date, the next publication date).

         B.     Sole Agent

                The Named Insured shall be the sole agent of all of you for the purpose
                of effecting or accepting any notices hereunder, any amendments to or
                cancellation of this Policy; for the completing of any applications; for the
                making of any statements, representations and warranties; for the
                payment of any premium and the receipt of any return premium that may
                become due under this Policy; and for the exercising of, or declining to
                exercise any right under this Policy.

         C.     Duties in the event of a claim

                1.      You must give us written notice as soon as reasonably possible
                        during the policy period of any claim made against you. We
                        agree that you may have up to, but not to exceed, 60 days after
                        the Policy expiration to report to us a claim made against you
                        during the policy period if the reporting of such claim is as soon
                        as reasonably possible.

                2.      You must:
                        a.    immediately forward all documents received in connection
                              with the claim to us;

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                         b.    fully cooperate with us or our designee in the investigation,
                               the making of settlements, the conduct of suits or other
                               proceedings, or enforcing any right of contribution or
                               indemnity against another who may be liable to you in
                               connection with a claim;
                         c.    attend depositions, hearings and trials;
                         d.    assist in securing and giving evidence obtaining the
                               attendance of witnesses; and
                         e.    refuse, except at your own cost, to admit any liability,
                               assume any damages, voluntarily make any payments, or
                               incur any claim expenses.

        D.      Duties in the event of a potential claim

                If, during the policy period, you become aware of an act or omission that
                may reasonably be expected to be the basis of a claim against you, you
                must give written notice to us prior to the expiration of the policy period.
                Such notice must state the reasons for anticipating a claim, with full
                particulars, including but not limited to:
                1.       the specific act or omission;
                2.       the dates and persons involved;
                3.       the identities of anticipated or possible claimants;
                4.       the circumstances by which you first became aware of the
                         potential claim.

                If such notice is given, then any claim that is subsequently made against
                you and reported to us shall be deemed to have been made at the time
                such written notice was received by us.

                In the event we determine there is an opportunity to avoid a claim arising
                out of a potential claim you have reported to us and we incur legal or
                expert expenses to do so, such expense will be at our cost and not be
                subject to your deductible.

        E.      Notice

                Notice of any claim or potential claim should be sent by regular mail or
                email to the addresses specified in the Declarations. The date the Insurer
                receives such notice shall constitute the date such notice was given.
                Proof of mailing shall be sufficient proof of notice.

        F.      Changes/Transfer of Interest

                Notice to any of our agents or knowledge possessed by any such agent
                or any other person shall not act as a waiver or change in any part of this
                Policy. You agree to first obtain our written consent to make any
                changes, transfers or assignments of this Policy. None of the provisions
                of this Policy will be waived, changed or modified except by written
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                endorsement issued to form a part of this Policy.

        G.      Entire contract

                This Policy consists of the Declarations, the Policy form, all endorsements
                attached to the Policy, the completed and signed application and all
                supplementary information and statements you have provided to us.

                By acceptance of this Policy you agree that all of the information and
                statements provided to us by you are true, accurate and complete. This
                Policy has been issued in reliance upon the truth and accuracy of those
                representations.

                No concealment, misrepresentation or fraud shall avoid or defeat
                recovery under this Policy unless such concealment, misrepresentation or
                fraud was material. Concealment, misrepresentation or fraud in the
                procurement of this Policy, which if known by us would have led to refusal
                by us to make this contract or provide coverage for a claim hereunder,
                will be deemed material.

        H.      Other Insurance

                If you have other valid and collectible insurance that applies to the claim,
                this insurance shall be excess over any other insurance, self-insurance,
                self-insured retention or similar programs, whether primary, excess,
                contingent or on any other basis.

                If no other insurer defends a claim that we have an obligation to defend,
                we will do so, but we will be entitled to your rights against all those other
                insurers.

                We will pay only our share of the amount of the loss, if any, that exceeds
                the sum of the total amount that all such other insurance would pay in
                absence of this insurance and the total of all deductible and self-insured
                amounts under all such other insurance or other available programs. This
                provision does not apply to other insurance that was purchased by you
                specifically to apply in excess of the limits of liability shown on the
                Declarations of this Policy.

        I.      Legal Action Limitation

                You agree not to bring any legal action against us concerning this Policy
                unless you have fully complied with all the provisions of this Policy, and
                the amount of your obligation to pay has been finally decided. Such
                amount can be decided by final judgment against you or by written
                agreement between you, us and the claimant. You agree to bring any
                such action within two years, or during any applicable statute of
                limitations for the bringing of such action, whichever is longer.

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                No individual or entity, or their legal representative, is entitled to recover
                under this Policy until they have secured such judgment or written
                agreement. Recovery is limited to the extent of the insurance afforded by
                this Policy. No individual or entity has any right under this Policy to
                include us in any action against you to determine your liability, nor will
                we be brought into such an action by you or your representative.

        J.      Subrogation

                In the event of any payment under this Policy, we shall be subrogated to
                all your rights of recovery thereof against any person or organization,
                including any rights you may have against any other person insured
                under this Policy who is involved in dishonest, fraudulent, criminal,
                malicious or intentional conduct. You shall execute and deliver
                instruments and papers and do whatever else is necessary to secure and
                collect upon such rights. You shall do nothing to prejudice such rights.

        K.      Premium

                Premiums for this Policy are payable to us in advance. They may be paid
                to us or our authorized representative. The first premium is due on the
                effective date of this Policy.

        L.      Innocent insureds

                If coverage under this Policy would be excluded as a result of any
                criminal, dishonest, illegal, fraudulent or malicious acts of any of you, we
                agree that the insurance coverage that would otherwise be afforded
                under this Policy will continue to apply to any of you who did not
                personally commit, have knowledge of, or participate in such criminal,
                dishonest, illegal, fraudulent or malicious acts or in the concealment
                thereof from us.

        M.      Reimbursement

                While we have no duty or obligation to do so, if we advance any amounts
                in payment of damages or claim expenses within the amount of the
                applicable deductible or in excess of the applicable limit of liability, you
                agree to be jointly and severally liable to us for such amounts. Upon
                demand, you agree to immediately repay such amounts to us.

        N.      Bankruptcy/Insolvency

                The insolvency or bankruptcy of you, or the insolvency of your estate,
                shall not release us from the payment of damages or claim expenses
                recoverable under this Policy.


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        O.      Cancellation/Non-Renewal

                Your rights and ours are stated in the attached State Provisions
                endorsement.

        P.      Liberalization

                In the event we make any filing with the insurance supervisory authorities
                of the state in which this Policy is issued that would broaden coverage
                under this Policy, and;
                1.      such filing is approved or accepted by such insurance authorities
                        to be effective while this Policy is in force; and
                2.      such filing includes provisions that would extend or broaden this
                        insurance without additional premium,
                the benefit of such extended or broadened provisions shall inure to your
                benefit as though substitution of such policy form had been made.
                However, such benefit shall not apply to any claim which has been made
                against you or potential claim reported to us on or prior to the date such
                benefit is approved or accepted.

        Q.      Spouses, Heirs, Legal Representatives

                Your estates, heirs, legal representatives, assigns, spouses and
                domestic partners shall be considered insured under this Policy; provided,
                however, coverage is afforded to such estates, heirs, legal
                representatives, assigns, spouses and domestic partners only for a claim
                arising solely out of their status as such and, in the case of a spouse or
                domestic partner, where such claim seeks damages from marital
                community property, jointly held property or property transferred from you
                to the spouse or domestic partner. No coverage is provided for any act, or
                omission of an estate, heir, legal representative, assign, spouse or
                domestic partner.

        R.      Economic and Trade Sanctions
                This Policy does not provide coverage for any of you, any transaction or
                that part of damages or claim expenses that is uninsurable under the
                laws or regulations of the United States concerning trade or economic
                sanctions.

VII.    EXTENDED CLAIM REPORTING PERIOD

        As used herein, "extended claim reporting period" means the period of time
        after the end of the policy period for reporting claims to us that are made
        against you during the applicable extended claim reporting period by reason
        of an act or omission that happened prior to the end of the policy period and is
        otherwise covered by this Policy. It is understood and agreed that the extended
        claim reporting period shall not be construed to be a new policy and any claim
        submitted during such period shall otherwise be governed by this Policy.
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        A.      Automatic extended claim reporting period

                If this Policy is canceled or non-renewed by either us or by the Named
                Insured, we will provide to the Named Insured an automatic, non-
                cancelable extended claim reporting period starting at the termination
                of the policy period if the Named Insured has not obtained another
                policy of accountants professional liability insurance. This automatic
                extended claim reporting period will terminate after sixty (60) days.

        B.      Optional extended claim reporting period

                If this Policy is canceled or non-renewed by either us or by the Named
                Insured, then the Named Insured shall have the right to purchase an
                optional extended claim reporting period. Once purchased, the
                extended claims reporting period can not be cancelled and the
                premium for such optional extended claim reporting period shall be
                fully earned upon inception. Such right must be exercised by the Named
                Insured within sixty (60) days of the termination of the policy period by
                providing written notice to us.

        C.      Elimination of right to any extended claim reporting period

                There is no right to the optional extended claim reporting period if we
                cancel or refuse to renew this Policy due to non-payment of premiums or
                any material misrepresentations in the application for this Policy.


IN WITNESS WHEREOF, we have caused this Policy to be executed by our Chairman
and Secretary, but this Policy shall not be binding upon us unless completed by the
attachment of the Declarations.




        Chairman                                                  Secretary




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